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            UNITED STATES COURT OF INTERNATIONAL TRADE

HONORABLE GARY S. KATZMANN, JUDGE
________________________________________________
                                                        :
NINESTAR CORPORATION, ZHUHAI NINESTAR                   :
INFORMATION TECHNOLOGY CO., LTD., ZHUHAI :
PANTUM ELECTRONICS CO., LTD., ZHUHAI APEX :
MICROELECTRONICS CO., LTD., GEEHY                       :
SEMICONDUCTOR CO., LTD., ZHUHAI G&G                     :
DIGITAL TECHNOLOGY CO., LTD., ZHUHAI SEINE :
PRINTING TECHNOLOGY CO., LTD., and ZHUHAI               :
NINESTAR MANAGEMENT CO., LTD.,                          :
                                                        :
                               Plaintiffs,              :
                                                        :             Court No. 23-00182
                       v.                               :
                                                        :
UNITED STATES OF AMERICA; DEPARTMENT OF :
HOMELAND SECURITY; UNITED STATES                        :
CUSTOMS AND BORDER PROTECTION; FORCED                   :
LABOR ENFORCEMENT TASK FORCE;                           :
ALEJANDRO MAYORKAS, in his official capacity as         :
the Secretary of the Department of Homeland Security;   :
TROY A. MILLER, in his official capacity as the Senior :
Official Performing the Duties of the Commissioner for  :
U.S. Customs and Border Protection; and                 :
ROBERT SILVERS, in his official capacity as Under       :
Secretary for Office of Strategy, Policy, and Plans and :
Chair of the Forced Labor Enforcement Task Force,       :
                                                        :
                               Defendants.              :
________________________________________________:

                    SECOND AMENDED PROTECTIVE ORDER

I.     CONFIDENTIAL INFORMATION

       1.     For purposes of this Second Amended Protective Order, “Confidential

Information” means information, data, and documents the disclosure of which to or by

the receiving party would, in the good faith belief of the producing party, result in the

disclosure of one or more of the following categories of information: (1) proprietary,
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business, financial, technical, trade secret, or commercially sensitive information; (2)

information that any party or person is prohibited from releasing publicly pursuant to

contracts, applicable statutes, or applicable regulations, or directives from the

Government concerning classified or other similarly sensitive information; (3) law

enforcement sensitive information or other similarly sensitive government information,

including information designated as “for official use only;” (4) private information that is

otherwise protected from disclosure under applicable law including, but not limited to,

personnel files; and (5) other confidential research, development, or commercial

information as set forth in USCIT Rule 26(c)(1)(G).

       2.     Counsel agree to treat the information contained in the Confidential

Information portion of the administrative record as confidential to the extent such

information is not otherwise available in the public portion of the administrative record,

subject to the rights to modify this protective order or challenge the designation of

materials as confidential set forth in paragraphs 20, 21, and 22.

       3.     Counsel shall be permitted to have access to and retain for the duration of

this litigation (including any remand and appeals therefrom) all Confidential Information

materials released under this Second Amended Protective Order.

       4.     Except as otherwise provided for in this Second Amended Protective

Order, counsel shall not disclose the Confidential Information to anyone other than

personnel actively assisting in this litigation. Personnel include, but are not limited to,

paralegals and support staff who are employees of plaintiffs’ counsel’s law firm or the

Department of Justice, and experts, consultants, investigators, or similar personnel

engaged by counsel to assist with the litigation, as well as representatives from the



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Government agencies that comprise the Forced Labor Enforcement Task Force. With

respect to all paralegals and support staff who are employees of plaintiffs’ counsel’s law

firm, and experts, consultants, investigators, or similar personnel engaged by plaintiffs’

counsel to assist with the litigation, plaintiffs’ counsel shall cause all such personnel

authorized who see the Confidential Information to sign a statement of acknowledgment

that the information will not be disclosed to anyone other than authorized personnel

within their law firm.

       5.     Except as otherwise provided in this Second Amended Protective Order, all

persons subject to this Second Amended Protective Order shall neither disclose any of the

Confidential Information nor use it for purposes other than the conduct of this litigation.

The term “this litigation” when used in this Second Amended Protective Order shall refer

to the above-referenced action, and any remand proceedings ordered by the Court in this

action, as well as any subsequent appeal of this action.

       6.     In no event shall disclosure of the Confidential Information covered by this

Second Amended Protective Order be made to anyone (including any officer, director,

shareholder, or employee of Ninestar Corporation, Zhuhai Ninestar Information

Technology Co. Ltd., Zhuhai Pantum Electronics Co. Ltd., Zhuhai Apex

Microelectronics Co., Ltd., Geehy Semiconductor Co., Ltd., Zhuhai G&G Digital

Technology Co., Ltd., Zhuhai Seine Printing Technology Co., Ltd., and Zhuhai Ninestar

Management Co., Ltd. (collectively, “Ninestar”)) other than counsel named in the

original Protective Order and other persons subject to the Protective Order pursuant to

paragraphs 2, 3, and 4 above.




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II.      NINESTAR CONFIDENTIAL INFORMATION

         7.    For purposes of this Second Amended Protective Order, “Ninestar

Confidential Information” is information identified in Paragraph 1 of this Second

Amended Protective Order that may be disclosed to officers or directors of Ninestar.

         8.    Counsel and Ninestar agree to treat the information contained in the

Ninestar Confidential Information portion of the administrative record as confidential to

the extent such information is not otherwise available in the public portion of the

administrative record, subject to the rights to modify this protective order or challenge the

designation of materials as confidential set forth in paragraphs 20, 21, and 22.

         9.    Counsel and Ninestar shall be permitted to have access to and retain for the

duration of this litigation (including any remand and appeals therefrom) all Ninestar

Confidential Information materials released under this Second Amended Protective

Order.

         10.   Except as otherwise provided for in this Second Amended Protective

Order, counsel and Ninestar shall not disclose the Ninestar Confidential Information to

anyone other than personnel actively assisting in this litigation. Personnel include, but

are not limited to, paralegals and support staff who are employees of plaintiffs’ counsel’s

law firm or the Department of Justice, and experts, consultants, investigators, or similar

personnel engaged by counsel to assist with the litigation, as well as representatives from

the Government agencies that comprise the Forced Labor Enforcement Task Force. With

respect to all paralegals and support staff who are employees of plaintiffs’ counsel’s law

firm, and experts, consultants, investigators, or similar personnel engaged by counsel to

assist with the litigation, plaintiffs’ counsel shall cause all such personnel authorized who



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see the Ninestar Confidential Information to sign a statement of acknowledgment that the

information will not be disclosed to anyone other than authorized personnel within their

law firm.

        11.    Except as otherwise provided in this Second Amended Protective Order, all

persons subject to this Second Amended Protective Order shall neither disclose any of the

Ninestar Confidential Information nor use it for purposes other than the conduct of this

litigation or settlement discussions related to this litigation. The term “this litigation”

when used in this Second Amended Protective Order shall refer to the above-referenced

action, as well as any subsequent appeal of this action.

III.    GENERAL PROVISIONS

        12.    This Second Amended Protective Order is not intended to address or

govern claims of privilege or work product that may otherwise be asserted by any of the

parties. This Second Amended Protective Order does not restrict in any manner a party’s

use of its own information, whether it is Confidential Information or Ninestar

Confidential Information.

        13.    Nothing in this Second Amended Protective Order shall be interpreted as

limiting the right of counsel to disclose to their client information which was originally

submitted by that client, whether the information appears in a submission of the client or

in a submission of a party other than the client (provided that, in the latter case, all

Ninestar Confidential Information or Confidential Information of a party other than the

client has been redacted from the document prior to inspection by the client).

        14.    All persons having access to Confidential Information or Ninestar

Confidential Information shall maintain it in a safe and secure manner to ensure



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compliance with this Second Amended Protective Order. A party, or a party’s attorney,

waives the protection of this Second Amended Protective Order as to the information of

the party or that of the party’s affiliate (including the information of the plaintiff’s

importer), when it files such information without redaction and not under seal. This

provision applies to any information disclosed in a public filing made before this Second

Amended Protective Order was issued, including but not limited to the complaint in this

action. The Parties agree to follow USCIT Rule 26(b)(5)(B) with respect to any

inadvertently or unintentionally produced or disclosed Confidential Information

        15.    Nothing contained in this Second Amended Protective Order shall prevent

or in any way limit or impair the right of counsel for the United States to disclose to any

agency of the United States (including other divisions and branches of the Department of

Justice) any document or information regarding any potential violation of law or

regulation or, subject to procedures that maintain the confidentiality of Confidential

Information or Ninestar Confidential Information consistent with this Second Amended

Protective Order, prevent or limit in any way the use of such documents and information

by an agency in any proceeding regarding any potential violation of law or regulation.

        16.    Nothing in this Second Amended Protective Order supersedes existing

independent statutory, law enforcement, national security, or regulatory obligations

imposed on a Party, and this Second Amended Protective Order does not prohibit or

absolve the Parties from complying with such other obligations.

        17.    Counsel shall endeavor to avoid the use of Confidential Information or

Ninestar Confidential Information in any oral proceeding before this court, including oral

argument. If any counsel find it necessary to refer to Confidential Information or



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Ninestar Confidential Information in any such oral proceeding, counsel shall notify the

Court and all other counsel of record as soon as such necessity becomes apparent, and

shall propose whatever mechanism may be available and appropriate to prevent

disclosure of Confidential Information or Ninestar Confidential Information to persons

other than those authorized by this Second Amended Protective Order.

       18.    Any documents, including briefs and memoranda, containing any of the

Confidential Information or Ninestar Confidential Information, which are filed with the

Court in the above-referenced action, shall be conspicuously marked as containing

“Confidential Information” that is not to be disclosed to the public, and arrangements

shall be made with the Clerk of this Court to retain such documents under seal, permitting

access only to the Court, Court personnel authorized by the Court to have access, and

counsel for the parties, to the extent they have obtained access to the information

involved under the Second Amended Protective Order.

       19.    Upon final conclusion of this litigation, including such appellate review as

may occur, documents designated as Confidential Information or Ninestar Confidential

Information and all copies of same (other than exhibits of record) will be destroyed by

the receiving party; or alternatively, if requested by the producing party, such documents

and copies (other than exhibits of record) will be returned to the producing party at their

request, other than copies containing work notes of counsel or other authorized persons,

which will be destroyed.

       20.    Any party may petition the Court, on reasonable notice to all other parties,

for a modification of the terms of this Second Amended Protective Order. The Court

shall have continuing jurisdiction to modify, amend, enforce, interpret, or rescind any or



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all provisions of this Second Amended Protective Order, notwithstanding the final

termination or conclusion of this case.

       21.    If a dispute arises concerning the designation of any Confidential

Information or Ninestar Confidential Information, the parties agree that they shall first

take reasonable steps to meet and confer in good faith to resolve any dispute on an

informal basis before seeking the Court’s intervention.

       22.    If the parties cannot informally resolve any dispute regarding whether

particular information is properly designated as Confidential Information or Ninestar

Confidential Information under this Second Amended Protective Order, a party may

apply to or move the Court for an in camera determination or Order that Confidential

Information or Ninestar Confidential Information is not entitled to such designation status

and protection from disclosure. The Designating Party shall be given notice of the

application or motion and a reasonable opportunity to respond. Material designated as

Confidential Information or Ninestar Confidential Information prior to any such

challenge shall be treated as such by the parties until further order of the Court has

determined or ordered otherwise. The burden rests on the Designating Party to

demonstrate that the designation is proper.




            /s/    Gary S. Katzmann
SO ORDERED: _________________________________                        Dated: January
                                                                            ____________
                                                                                    16, 2024
            HON. GARY S. KATZMANN, JUDGE




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